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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  UNITED STATES OF AMERICA,                      :

                          Plaintiff,             :

         -vs-                                    :       CASE NO. 2:11-CR-010(1)

  SEAN D. MURPHY,                                :       JUDGE SMITH

                          Defendant.             :


                         MOTION TO RENEW MOTION TO AUTHORIZE
                          FUNDS FOR A DEFENSE INVESTIGATOR


         On April 20, 2011, Sean D. Murphy filed a Motion to Authorize Funds for a

  Defense Investigator up to $5,000. The purpose was to locate and collect documents and

  interview certain witnesses critical to the defense of the case.

         After the Government responded, in an Opinion and Order dated 5/11/2011, this

  Court conditionally denied the Motion essentially stating that all discovery materials

  were available for Defendant's review and the Defendant had not set forth in sufficient

  detail the specific reasons why the Motion should be granted. (Opinion and Order; Doc.

  No. 62, at pp. 3-4).

         After reviewing the available discovery in this case, which is voluminous, and

  several discussions with the client, it is apparent that an Investigator is needed to assist

  both the Defendant and counsel for trial preparation, and for the trial itself.




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            As an example, when the Government states that all discovery has been provided,

  Mr. Murphy is filing simultaneously with this Motion, a request for supplemental

  discovery.

            He is requesting certain 302 FBI Reports, specific exculpatory evidence, entry

  and exit logs for certain bins, information related to a Co-Defendant, and the specific list

  of witnesses.

            Mr. Murphy is cognizant of the fact that under discovery rules the list of

  witnesses is technically not mandatory, but it only stresses the fact that if the Government

  refuses to release the specific list of witnesses then constitutionally, it is crucial that funds

  for a Defense Investigator be granted so that witnesses that Mr. Murphy believes could be

  witnesses can be interviewed by the appropriate Investigator.

            Separate from that, there is a Motion, again, being filed simultaneously with this

  current Motion that requests the medical records for David Nassor, an alleged unindicted

  Co-Conspirator.

            This Motion is also necessary because of the manner in which the Delaware

  County Sheriff is treating Mr. Murphy when he requests law library time.

            Again, in a simultaneously Motion, there are attachments that show that the

  officials in Delaware County are specifically denying him any access to a Law Library.

            Finally, this is an exceptionally complex case that involves alleged activity in the

  East Coast, in the South, and documents that arose outside of the continental United

  States.




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         If trial counsel is required to perform the necessary investigative work on his own,

  it will cost the Government more money to pay the higher attorney fees, rather than the

  much cheaper investigator's rate.

         For the above reasons, Mr. Murphy requests that the above Motion through this

  renewal be granted and that a Defense Investigator be allowed up to $5,000 in funds.

                                                     Respectfully submitted,



                                                     _ s/David J. Graeff_________
                                                     David J. Graeff #0020647
                                                     P.O. Box 1948
                                                     Westerville, Ohio 43086
                                                     Phone: (614) 226-5991
                                                     Trial Counsel for Defendant
                                                     Sean Murphy



                                CERTIFICATE OF SERVICE


         I hereby certify that a true copy of the foregoing was delivered to Salvador A.

  Dominguez, Assistant United States Attorney. 303 Marconi Boulevard, Suite 200,

  Columbus, Ohio 43215, this     14th    day of     July , 2011.



                                                     _ s/David J. Graeff_________
                                                     David J. Graeff #0020647
                                                     Trial Counsel for Defendant
                                                     Sean Murphy




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